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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

 TREVOR MCCARTHY,                                 )   3:20-CV-1426 (SVN)
      Plaintiff,                                  )
                                                  )
        v.                                        )
                                                  )
 RANDOLPH, FIELDS, EMILIA,                        )
 ROBERTS, JOHN DOE, JANE DOE,                     )   June 24, 2022
      Defendants.                                 )

                                    ORDER OF DISMISSAL

Sarala V. Nagala, United States District Judge.

       On September 22, 2020, Plaintiff Trevor McCarthy filed a complaint pursuant to 42 U.S.C.

§ 1983 against various state corrections officials. ECF No. 1. Following its initial review, ECF

No. 9, the Court permitted certain constitutional claims to proceed against Defendants Randolph,

Fields, Emilia, Roberts, John Doe, and Jane Doe in their individual capacities for money damages,

specifically: Plaintiff’s First Amendment freedom of speech and expression claim; his Fourth

Amendment privacy and search and seizure claim; and his Fourteenth Amendment claims related

to alleged punitive conditions in the gang/segregation unit. In addition, the Court permitted certain

claims to proceed against Defendant Roberts, specifically: Plaintiff’s First Amendment retaliation

claim; his Fourteenth Amendment claim arising from alleged harassment; and his state law

intentional infliction of emotional distress claim. The Court set a discovery deadline of April 15,

2022. ECF No. 9 at 24.

       On January 6, 2022, Roberts filed a motion to dismiss Plaintiff’s claim of intentional

infliction of emotional distress, contending that Plaintiff failed to allege extreme and outrageous

conduct to state a claim. ECF No. 24. Following an extension, Plaintiff timely filed an opposition

to Roberts’ motion to dismiss. ECF No. 27.
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       On February 7, 2022, Defendants filed a motion to bifurcate dispositive motions in order

to address the question of whether Plaintiff has exhausted his administrative remedies as required

by the Prison Litigation Reform Act, 42 U.S.C. § 197e(a), prior to addressing dispositive issues as

to liability. ECF No. 30. The Court ordered Plaintiff to respond to the motion, but he did not.

ECF Nos. 31, 32. Thereafter, the Court granted Defendants’ motion to bifurcate proceedings, ECF

No. 34, and, on April 18, 2022, Defendants filed a motion for summary judgment contending that

Plaintiff has not exhausted his administrative remedies. ECF No. 35. Plaintiff’s response was due

May 9, 2022. To date, Plaintiff has not responded to Defendants’ motion for summary judgment.

       In addition, it came to the Court’s attention that its order granting Defendants’ motion to

bifurcate proceedings, ECF No. 34, was sent to Plaintiff in mid-March of 2022 and soon thereafter

returned by the U.S. Postal Service as undeliverable. As the Court explained in its Initial Review

Order, ECF No. 9, Local Rule 83.1(c) requires Plaintiff to notify the Court if he changes his address

at any time during the litigation of this case, and his failure to do so may result in dismissal of the

case. Indeed, the docket indicates that Plaintiff has previously complied with the requirement that

he update his address. See ECF Nos. 17, 33. On one occasion, Plaintiff called the Clerk’s Office

to alert the Court that his notice of new address had not yet been docketed, so he had not received

timely notice of a filing. ECF No. 32. Based on Plaintiff’s previous filings and this phone call, it

is clear that Plaintiff understands his obligation to update his mailing address.

       On June 2, 2022, the Court ordered Plaintiff to file a notice confirming his current mailing

address as required by Local Rule 83.1(c)(2) and to respond to Defendants’ motion for summary

judgment. ECF No. 36. This Order again advised Plaintiff that his failure to update his address

may result in dismissal of the case. To date, Plaintiff has not updated his mailing address,

responded to Defendants’ motion for summary judgment, or otherwise prosecuted the case.




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       Accordingly, this action is dismissed on the ground that Plaintiff has failed to provide the

Court with notice of his address and, thus, failed to prosecute his action pursuant to Fed. R. Civ.

P. 41(b).

                                          CONCLUSION

       The case is DISMISSED for Plaintiff’s failure to follow the Court’s orders requiring

him to inform the Court of his current address; ECF Nos. 9, 36; and for failure to prosecute

under Fed. R. Civ. P. 41(b). This dismissal is without prejudice to refiling a motion to reopen

this case on or before August 24, 2022. Plaintiff’s motion to reopen must show good cause for

his failure to timely provide the Court with an updated address. If Plaintiff fails to file a motion

to reopen that complies with this order by August 24, 2022, the Court will convert this dismissal

into one with prejudice.

       In light of the dismissal, Defendant Roberts’ motion to dismiss, ECF No. 24, and

Defendants’ motion for summary judgment, ECF No. 35, are denied as moot, without prejudice

to refiling in the event that the Court reopens the case.

       The Clerk is directed to close this case without prejudice.

       SO ORDERED at Hartford, Connecticut, this 24th day of June, 2022.


                                                /s/ Sarala V. Nagala
                                               SARALA V. NAGALA
                                               UNITED STATES DISTRICT JUDGE




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